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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

KRISTINA MARTINEZ, in her Capacity
as the Personal Representative of the
Wrongful Death Estate of BARBARA
GRANGER, and SCOTT GRANGER,
individually,

Plaintiffs,
VS. Case No. 19-cv-00994-JB-JTHR

DART TRANS, INC., GILBERT TAN d/b/a
GMT TRUCKING, SUNRISE TIRE AND
LUBE SERVICE, INC., HAR-SUKH CORP.,
INC., SAM SANDHU, JASVIR SINGH,
RAJINDER SINGH BASSI, SUKHDEV
SINGH DHALIWAL, TERI-OAT, LLC,
JOHN DOE 1, JOHN DOE 2, GOODWILL
TRUCKING, LLC, and GURPREET SUCH,

Defendants.
ORDER GRANTING UNOPPOSED MOTION TO DISMISS WITHOUT PREJUDICE
ALL CLAIMS AGAINST HAR-SUKH CORP.,, INC.,
RAJINDER SINGH BASSI, AND TERRI-OAT, LLC
Upon consideration of Plaintiffs’ Unopposed Motion to Dismiss Without Prejudice All
Claims Against Har-Sukh Corp., Inc., Rajinder Singh Bassi, and Terri-Oat, LLC, filed on March

31, 2020 [Dkt. 45], it is hereby ORDERED that the motion be, and hereby is, GRANTED.

All claims against these defendants,are dismissed without prejudice.

 

 
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SUBMITTED BY:

PEIFER, HANSON, MULLINS & BAKER, P.A.

By: /s/ Mark T. Baker
Mark T. Baker
Elizabeth K. Radosevich
Rebekah A. Gallegos
Post Office Box 25245
Albuquerque, New Mexico 87125-5245
Tel: (505) 247-4800
Fax: (505) 243-6458
Email: mbaker@peiferlaw.com
eradosovich@peiferlaw.com
rgallegos@peiferlaw.com

Attorneys for Plaintiffs
APPROVED BY:
YLAW P.C.

By: Electronic approval on 03/19/20
Joseph B, Wosick, Esq,

4908 Alameda Blvd NE
Afbuquerque, NM 87113-1736

Tel: (505) 266-3995

Fax: (505) 268-6694

Email: jwosick@ylawfirm.com

Attorneys for Defendants Dart Trans, Inc.
and Gilbert Tan d/b/a GMT Trucking

CIVEROLO, GRALOW, & HILL

By: Electronic approval on 03/19/20
Lance Richards
Lauren R. Wilber

PO Box 887

Albuquerque, New Mexico 87103

Tel: (505) 842-8255

Fax: (505) 764-6099

Email: richardsi@civerolo.com
wilberl@civerolo.com

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BUTT THORNTON & BAEHR PC

By: Electronic approval on 03/31/20
Rati P. Sedillo

P.O, Box 3170

Albuquerque, NM 87190

Tel: (505) 884-0777

Email: rpsedillo@btblaw.com

and

John F. Domingue

Rossi Dominque Fox LLP
1570 The Alameda, Suite 316
San Jose, CA 95126

Tel: 408.495.3900

Direct: 408.591-5180

Fax: 408.495.3901

Email: john@rdfllp.com

Attorneys for Defendants Har-Sukh Corp., Inc.,
Teri-Oat, LLC and Rajinder Singh Bassi

LAWYERS505.COM

By: Electronic approval on 03/18/20
R. Don Lohbeck

510 Mountain Road NW

Albuquerque, NM 87102

Tel: (505) 888-5200

Email: Lohbeck@Lawyers505.com

Attorneys for Defendants Sam Sandhu
and Jasvir Singh

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